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1    Lindsay Sweet
     1299 S Main Ste C # 163
2    Yreka, CA 96097
     Telephone: (618) 713-0257
3    llsweet224@gmail.com
4    Attorney seeking Appointment for Defendant
     JAIME MAYORGA
5
6
                                     UNITED STATES DISTRICT COURT
7
                                 EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,                       No. 2:11-CR-0296-JAM
10
                        Plaintiff,
11                                                   AMENDED ORDER FOR APPOINTMENT OF
            v.                                       COUNSEL ON APPEAL
12
     JAIME MAYORGA,
13
                        Defendant.
14
15          Defendant Jaime Mayorga, through counsel, hereby applies for an order appointing
16   counsel to represent him for an interlocutory appeal of the district court’s 10/19/17 order denying
17   defendants’ motion to dismiss (docket 646). At the panel administrator’s request, attorney
18   Lindsay Sweet agrees to accept the appointment for the appeal. Attorney Ron Peter will remain
19   as counsel for defendant for all further proceedings in the district court.
20                                          Respectfully submitted,
21   Dated: October 23, 2017
22                                          /s/ Lindsay Sweet
23                                          Lindsay Sweet
                                            Attorney seeking appointment
24                                          JAIME MAYORGA
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1                                         ORDER
2          IT IS SO ORDERED.
3    Dated: 10/25/2017
4                           /s/ John A. Mendez__________
                            HON. JOHN A. MENDEZ
5                           United States District Court Judge
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